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    7                                                            OF GLIF~RNIA
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  [i~
   12                     UNITED STATES DISTRICT COURT
   13                    CENTRAL DISTRICT OF CALIFORNIA
   14
   15
   16 REPET,INC., a California corporation,         Case No. 5:15-cv-02315 VAP
                                                   (SPx)
                   Plaintiff/ Counterdefendant,
   17
   18   v.
                                                   ~~~~~
                                                   SPECIAL VERDICT FORM
   19 SHUBIN "VINCENT"ZHAO, an
      individual; and DOES 1-10, inclusive,
   20
                   Defendants /Counterclaimants.
   21
  22
  23
  24
  251
  26
  27
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    1
    2                                    JURY VERDICT
    3         We, the jury, unanimously agree to the answers to the following questions and
    4 return them under the instructions of this court as our verdict in this case:
    5
    6 I.        1
              FIl`TTI)INGS ON REPET,INC.'S CLAIMS
    7
              Question No. 1: Did Repet, Inc. ("Repet") prove by a preponderance of the
    8
        evidence that Shubin "Vincent" Zhao ("Zhao")is liable to Repet for fraud?
    9
   10
                                   Yes ~ No
   11
   12
              fyou answered "Yes"to Question No. 1, please proceed to Question No. 2.
              I
   13
        fyou answered "No"to Question No. 1, please proceed to Question No. 3.
        I
   14
   15
              Question No. 2: Did Zhao prove by a preponderance of the evidence that
   16
        Repet's claim offraud is barred by the applicable statute of limitations?
   17
   18
                                   Yes         No
   19
   20
              Please proceed to Question. No. 3.
   21
   22
              Question No. 3: Did Repet prove by a preponderance of the evidence that
   23
        Zhao is liable to Repet for intentional interference with contractual relations?
   24
   25
                                   Yes ~       No
   26
   27
              fyou answered "Yes"to Question No. 3, please pYoceed to Question No. 4.
              I
   28
        fyou answered "No"to Question No. 3, please proceed to Question No. 5.
        I


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     1
    2            Question No. 4: Did Zhao prove by a preponderance of the evidence that
    3 Repet's claim of intentional interference with contractual relations is barred by
    4 the applicable statute of limitations?
    5
    6                                Yes        No
    7
    8            Please proceed to Question. No. 5.
    l
   10            Question No. 5: Did Repet prove by a preponderance of the evidence that
   11      Zhao is liable to Repet for breach of fiduciary duty?
   12
   13                                Yes        No
   14
   15            fyou answered "Yes" to Question No. S, please proceed to Question No. 6.
                 I
        fyou answered "No"to Question No. S, please proceed to Question No. 7.
   16'. I
   17
   18            Question No. 6: Did Zhao prove by a preponderance of the evidence that
   19 Repet's claim of breach of fiduciary duty is barred by the applicable statute of
   20 limitations?
   21
   22,                               Yes ~ No
   23 ~'
   24            Please proceed to Question. No. 7.
   25
   26
   27
   28



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    1         Question No. 7: Did Repet prove by a preponderance of the evidence that
    2 Zhao is liable to Repet for conversion?
    3
    4                             Yes        No
    5
    6        fyou answered "Yes"to Question No. 7, please proceed to Question No. 8.
             I
      fyou answered "No"to Question No. 7, but you answered "Yes"to Question Nos.
    7 I
    8 1, 3, o~ S, please proceed to Question No. 9. Ifyou answered "No"to Question Nos.
    9 1, 3, S, and 7, please proceed to Question No. 12.
   10
   11         puestion No. S: Did Zhao prove by a preponderance of the evidence that
   12 Repet's claim of conversion is barred by the applicable statute of limitations?
   13
   14                             Yes ~ No
   15
   ~(:7      fyou answered "No" to Question Nos. 2, 4, 6, o~ 8, please proceed to
             I
   17 Question No. 9. If you answered "Yes" to Question Nos. 2, 4, 6, and 8, please
   18 proceed to Question No. 12.
   19
   20         Question No. 9: What are the total damages suffered by Repet caused by
   21 Zhao?
   ~xal
   23               MONETARY:$ ~ ~ C~3 ~'I ,~Z~ e (~ 4
   24               SHARES OF REPET'S COMMON STOCK:
   25               OTHER: ~o ~~ ti ~- ~ C ~► ~ r,~ c ~ ~ J ~
   26
   27        Please proceed to Question. No. 10.
   28



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    1         Question No. 10: Did Repet prove with clear and convincing evidence that
    2 Zhao engaged in malice, oppression, or fraud?
    3
    4                             Yes ~ No
    5
    6        fyou answered "Yes"to Question No. 10, please proceed to Question No.
             I
    7 11. Ifyou answered "No"to Question No. 10, please proceed to Question No. 12.
    8
    9         Question No. 11: What are the punitive damages, if any, that you assess
   10 against Zhao?
   11
   12               TOTAL:$
   13
   14        Please proceed to Question. No. 12.
   15~~
   16 II.     FINDINGS ON ZHAO'S COUNTERCLAIM
   17
   18         Question No. 12: Did Zhao prove by a preponderance of the evidence that
   19 Repet is liable to Zhao for breach of an oral contract for severance pay?
   20
   21                             Yes _~ No
   22
   23        fyou answered "Yes"to Question No. 12,please proceed to Question No. 13.
             I
   24
   25         Question No. 13: What is the total amount of Zhao's damages. caused by
   26 Repet?                                                                             ',
   27
   28               TOTAL:$
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    1
    2          You have now reached the end of the verdictform and should review it to
    3 ensure it accurately reflects your unanimous determinations. The Presiding Ju~o~
    4 should then sign and date the verdictform in the spaces below and notify the bailiff
    5    that you have peached a verdict. The Presia'ing Juror should retain possession ofthe
    6 verdictfoam and being it when thejury is brought back into the courtroom.
    7
    8    Dated: ~ ~ ~~ 12- V J
    9
                                                          Presiding Juror
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